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        ; Wif?3                           mgcu                                             Ph 404.688.1202
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                                               March 14, 2018




             Greetings:

             We received your letter seeking assistance. The Southern Center for Human
             Rights is a non-profit public interest law office. We provide legal representation
             to people facing the death penalty, challenge patterns of human rights violations in
             prisons and jails, seek to improve legal representation for poor people accused of
             crimes, and advocate for criminal justice reform in Georgia and Alabama. Due to
             our limited resources, we cannot represent you, provide you with specific legal
             advice, or send legal materials or publications. We wish you all the best.

             Sincerely,

             Southern Center for Human Rights
             Law Offices
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            You must attach the completed Step 1 Grievance, that has been signed by the Warden for your Step 2 appeal to be
           accepted. You may not appeal to Step 2 with a Step 1 that h s been returned unprocessed.


 Give reason for appeal (Be specific). lam dissatisfied with the re ponse at Step 1 because...
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Grievance Response:



              Disciplinary case #20120071650 will be overturned,
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              corrected. The option to rehear this case will be left to the
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Signature Authority        MuJj, hiMtm                                               simh y                       Date: FEB 1 T 2012
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Offender Name: phuik                                TDCJ #.                                Investigator ID #:                  r


Unit:                  L               Housing Assignment:                                 Extension Date:

Unit where incident occurred: C/L leMJf £-                                                 Date Retd to Offender:
                                                                                                                     DEC 0 6 2011
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You must try to resolve your problem with a staff member before you submit a formal complaint. The only exception is hen
appealing the results of a disciplinary hearing. / , / i- /                                                          t / / J
Who did you talk to (name, title)?                                f/tMjJiSVi(< /yv) <                        When? M
What was their response?

What action was taken? /M txh u                    ' AJr*

State your grievance in the space provided. Please state ho, what, hen, where and the disciplinary case number if appropriate
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Action Requested to resolve your Complaint.
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Offender Signature:                                                                                                  Date:, jljgo &U.
Grievance Response:




            A review of major disciplinary case #20120071650 has been conducted. No errors in procedure, due
            process, or the punish ent phase has been noted. The decision of the disciplinary hearing officer was
            based on the preponderance of credible evidence presented at the hearing. No evidence has been found
            to warrant overturning thp o nti ne r isciplinary case.

Signature Authority:                                                                                                                           Date:    IC 0 6 2011
If you are dissatisfied with the Step 1 response,   a submit a Step 2 (1-128) to the Unit Gri van | p fjigator within IS days from the date of the Step 1 response.
State the reason for ap eal on the Step 2 Form
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Returned because:            *Resubmit thj/form when the corrections are made.
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I I 1. Grievable time period has expired.
    2. Submission in excess of 1 every 7 days. *                                                                            OFFICE USE ONLY
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    3. Originals not submitted. *
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    4. Inappropriate/E cessive attachments. *
                                                                                                                  Screening Criteria Used:
    5. No documented attempt at informal resolution. *
                                                                                                                  Date Reed from Offender:
i~l 6. No requested relief is stated. *
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    7. Malicious use of vulgar, indecent, or physically threatening language. *
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    8. The issue presented is not grievable.
                                                                                                                  Grievance                            #:
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    10. Illegible/Incomprehensible. *                                                                             Date Reed from Offender:
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Application of the screening criteria for this grievance is not expected to adversely
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Affect the offender s health.
                                                                                                                  Date Reed from Offender: .
Medical Signature Authority:                                                                                      Date Returned to Offender: .

1-127 Back (Revised 11-2010)
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          Case 1:18-cv-00094-MAC-KFG Document 5 Filed 03/28/18 Page 10 of 67 PageID #: 73
                 Texas Department of Criminal Justice               OFFICE USE ONLY

                                                                                       Grievance #:
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                                                                                       Date Due:

                                                                                       Grievance Code:

Offender Name:                                 TDCJ #              -                   Investigator ID .

Unit:          Housing Assignment:                              S3 7                   Extension Date:

Unit where incident occurred:                                                          Date Retd to Offender:



You must try to resolve your problem with a staff member before you submit a formal complaint. The only exceptioiul when
appealing the results of a disciplinary hearing. . 1                                                             P 2017
Who did you talk to (name, title)? ' )&>                             //JA/kruj-1 ¦» When? /cy W&QiP *
What was their response? c tiAjiXjd}                                                       -    U v ij           (j(/       „
What action was taken? rfollhM) s/ c lifkadJ tytJMj jAn<Mib ~/h J ktXrt jAMr-, t *>
State your grievance in the space provided. Please state ho, what, when, here and the disciplinary case number if appropriate
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OffenderSignature                       )         2                                                                Date: Qg                  f d/1.
Grievance Response:




Sign                            ture                         Authority:                                                           Date:
If you are dissatisfied with the Step 1 response, you may submit a Step 2 (1-128) to the Unit Grievance Investigator within 15 days from the date of the Step 1 response.
State the reason for appeal on the Step 2 Form.

Returned because: *Resubmit this form whe the corrections are made.

I~1 1. Grievable time period has expired.
     2. Submission in excess of 1 every 7 days. *                                                                          OFFICE USE ON
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     5. No documented attempt at informal resolution.
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     6. No requested relief is stated. *
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     2. Malicious use of vulgar, indecent, or physically threatejii
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j sS. The issue presented is not grievable. MlQl                                                               Grievance                           #:
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Application of the screening criteria for this grievance is not expected to adversely
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Affect the offender health.
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1-127 Back (Revised 11-2010)
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          Case 1:18-cv-00094-MAC-KFG Document
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                          exas De rtme t of Crimin l Justice,                                         OFFICE USE ONLY
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Offender Name                      B/lM&a              TDCJ #               ),? /             Investigator ID #:       (1
Unit: j &bu               _____ Housing Assignment: / J ? 3                                   Extension Date:

Unit where incident occurred:                                       MI *                      Date Retd to Offender:        IV i 5 2017
You must try to resolve your problem with a staff member 1 ore you submit a formal complaint. The only exception i when
appealing the results of a disciplinary hearing. / . .                                                        , \ ,
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What action was taken?        aUra- (20w,

State your rievance in the space provided. Please state who, what, when, where and the disciplinary case number if appropriate



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Grievance Response:




                      In accordance with policy, property t ansactions between offenders are
                      prohibited and could result in disciplinary action. Contact the property
                      officer with any re ards to claiming ownership of the radio. No action
                      through trie grievance p oc ss is warranted.

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Signature Authority:                                                                                                                       Date:
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If you are dissatisfied with the Step 1 res o se, o may submit a Step 2 (1-128) to the Unit Grievance Investigator within 15 days from the date of the Step 1 response.
State the reason for appeal on the Step 2 form. * I

Returned because: *Resubmit thi form when the corrections are made.

    l. Grievable time period has expired.
    2. Submission in excess of 1 every 7 days. *                                                                          OFFICE USE ONLY
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I I 3. Originals not submitted. *                                                                                                                              •
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    5. No documented attempt at informal resolution. *
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    6. No requested relief is stated. *
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    8. The issue presented is not grievable.
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f~l 9. Redundant, Refer to grievance #                                                                        Screening Criteria Used:                               •

    10. Illegible/Incomprehensible. *                                                                         Date Reed from Offender:                         • •

    11, Inappropriate. *                                                                                      Date Returned to Offender

UGI Printed Name/Signature:                                                                                   . S bmission                 UGI Initials:
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Affect the offender s health.
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                       STEP 2 ) OFFENDER
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Offender Name:.                                               TDCJ # Un3f? /L                   Grievance Code:.


Unit: h fi j                         . Housing Assignment: J/S&i                                Investigator ID#:

Unit where incident occurred:                                                                   E tension Date: _

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        You m st attach the completed Step 1 Grievance that has been signed by the Warden for your Step 2 appeal to be
        accepted. You may not appeal to Step 2 with a Step 1 that has been returned unprocessed.

                             lam dissatisfied
Give reason for appeal (Be Specific).   _ with the respo se at Step 1 because...


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  lender                                                              i              Date:
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Grievance Response:




           An investigation has been conducted into your complaint. You admitted to loaning your radio to
           another offender. According to AD-03.72, property transactions between offenders are prohibited.
           Therefore, the item in question will not be returned. All policies and procedures were followed. No
           further action warranted by this office.




                                                                                                                  3G "\
Signature Authority:      B. BARNET
Returned because: *Res bmit this form when cor ectio s are made.                             OFFICE USE ONLY
                                                                                Initial Submi sion CGO Initials:
    1. Grievable time period has expired.                                       Date UGI Reed:

D 2. Ille ible/Incomprehensible.*                                               Date CGO Reed:
                                                                                   (check one) Screened Improperly Submitted
    3. Originals not submitted. *
                                                                                Comments:
E 4. Inappropriate/Excessive attachments.*                                      Date Retu               ed to Offender:

    5. Malicious use of vulgar, indecent, or physically threatening language.   2M Submi sion CGO Initials:
                                                                                Date UGI Reed:
    6. Inappropriate.*
                                                                                Date CGO Reed:
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CGO Staff Signature:                                                            Date Returned to Offender:

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1-128 Back (Revised 11-2010)                                                                                 Appendi G
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                 Texas Department of Criminal Justice               OFFICE USE ONLY

                                                                                          Grievance #:

                         CJT 0M1 OFFENDER                                                 Date Received:
                            Il i 1 GRIEVANCE FORM
                                                                                          Date           Due:

                                                                                          Grievance Code:

Offender Name:                                              TDCJ #                        Investigator ID #:

Unit:                             Housing Assignment:       !teo 7                        Exten ion Date:

Unit where incident occurred:                                                             Date Retd to Offender:



You must try to resolve your problem with a staff member before you submit a formal complajii t. The only exception is when
appealing the results of a disciplinar hearing.
Who did you talk to (name, title)?
What was their response?
What action was taken?

State your grievance in the space provided. Please state who, what, when, where and the disciplinary case number if appropriate
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Offender Signature:                                                                                               Date:

Grievance Response:




Signature                                                   Authority:                                                              Date:
f you are dissatisfied with the Step 1 response, you may submit a Step 2 (1-128) to the Unit Grievance Investigator within IS days from the date of the Step 1 response,
date the reason for appeal on the Step 2 Form.

 etu ned because: * Resubmit this form when the corrections are made.

3 1. Grievable time period has expired.
   2. Submission i excess of 1 every 7 days. *                                                                            OFFICE USE ONLF
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] 3. Originals not submitted. *
                                                                                                               Grievance #:¦ oJ                     .
 ] 4. Inappropriate/Excessive attachments. *
                                                                                                               Screening Criteria Used: .
   5. No documented attempt at info mal resolution. *
] 6. No requested relief is stated. *
                                                                                                               Date Reed from Offender:        IFFr
 ] 7. Malicious use of vulgar, indecent, or physically th eatening language.
                                                                                                               Date eturned to Offender:             £ 3.
                                                                                                              l Submission UGI Initials:
      The issue presented is not grievabl
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      Redundant, efer to grievance #J                                                                          Screening Criteria Used:
  110. Illegible/Incom rehensible.                                                                             Date Reed from Offender:
 ]    11.           Inappropriate.                                         *          ,                        Date      eturned to Offender:

JGI Printed Name/Signature: p \ | \ ]l                                                                         3 S h miss ion UGI Initials:.
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 ipplication of the screening criteria for this grievance is not expected to adver ely
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 -127 Back (Revised 11-2010)
                                                                                                                                                             Appendix F
           Case 1:18-cv-00094-MAC-KFG Document 5 Filed 03/28/18 Page 20 of 67 PageID #: 83
                          Texas Departme t c iCTinitsial Justice
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fw         A \ i t
iFfe: r i r'                                     O FENDER
                           STEP 1             GRI VANCE ORM

Offender Name:                                            .TDCJ #g$3£jtL
U it:                             Housing Assignment:

Unit where incide t occurred:



You must try to resolve your problem with a st ff member before you submit a fo mal complaint. The o ly exceptio is whe
appe ling the esults of a disciplinary hearing.
Who did you talk to (name, title)?                        )S lCfA /lXAJj/ J          j.../   lflen?
What was their esponse?
What action was take ?           JL    aJ m xz.

State your grievance n t e sp ce provided. Please state who, what, hen, here and the disciplinary case number if appropriate




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Grievance Response:


                       Major disciplinary case #20170291371 has been reviewed. The
                       disciplinary charge was appropriate for the offense and the guilty
                       verdict was supported by a preponderance of evidence. All due
                       process requirements were satisfied and the punishment assessed
                       by the Disciplinary Hearing Officer was within agency guidelines. No
                       further action is warranted.

                                                                              WARDEN W. BREWER

Signature                                       Authority:                                                                Date ..                   WN 2 S W
If you are dissatisfie with the Step 1 res o se, you may submit a Ste 2 (1-128) to tile Umi Grievance I vesti ator within 15 days from the date of the Step 1 response.
State the eason for appeal on the Ste 2 Form.

Returned because:           *Resubmit litis form when the corrections are made.

    1. Grievable time period has expired.
    2. Submission in excess of 1 every 7 days. *                                                                         OFFICE USE ONLY
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FI 3. Originals not submitted. *
                                                                                                              Grievance                              #:
    4. In pprop iate/Excessive attachments. *
                                                                                                              Screenin Criteria Use :
    5. No docu ented ttempt at informal resolution. *
                                                                                                              Date Reed rom Offender:
    6. o requested relief is stated. *
                                                                                                              Date Ret rned to Offender:
    7. Malicious use of vulgar, indece t, or physically threatening language. *
                                                                                                              i Submission                 UGi I itials:
f*~| 8. The issue presented is not grievable.
                                                                                                              Grievance #:
    9. Redundant, Refer to g ievance #
                                                                                                              •Scre ning Criteria Used:
    10. Illegible/Incomprehensible. *                                                                         D te Reed from O ender:
    11. Inappropriate. *
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UGI Printed Name/Signature:                                                                                   .3r4-Siihmissinn             UGI Initials:
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A lication of the screenin criteria for this g ievance is not expected to adversely
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Affect the offen er s health.
                                                                                                              Date Reed f om Offender: _
Me ical Signature Authority:                                                                                  Date Returned to Offender:

1-127 Back (Revised 11-2010)
                                                                                                                                                           Appendix F
               Case 1:18-cv-00094-MAC-KFG Document 5 Filed 03/28/18 Page 22 of 67 PageID #: 85
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                             Texas Department of Criminal Justice                                Grievance # ;         h

                             STEP 2
                                                                                                 UGI Reed Date:
                                                         OFFENDER                                HQ Reed Date:
                                                     GRIEVANCE FORM                              Date Due:     ( - «


Offender Name:           \AA Jc .                              TDCJ #                            Grievance Code:.

Unit: Housing Assignment:                                                                        Inve tigator ID#:,

Unit where incident occurred:                                                                    Extension Date:



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                                                                              l the Warden for your Step 2 appeal to be
          accepted. You may not appeal to Step 2 with a Step 1 that has bee returned unprocessed.

Give reason for appeal (Be Specific). lam dissatisfied with the response at Step 1 because...



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            Case 1:18-cv-00094-MAC-KFG Document 5 Filed 03/28/18 Page 23 of 67 PageID #: 86

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    Grievance Response:




               A review of Disciplinary Case #20170291371 has been conducted. The hearing records support
               the guilty finding. The punishment was within established guidelines and no due process errors
               identified. Video surveillance was denied appropriately, no audio. No further action is warranted
               by this office.



                                                            #1


    Signature Authority:                                    i    \ ' '_V-      Date:                Jlit            2 i l

    Returned because: *Resubmit this form when corrections are made.                          OFFICE USE ONLY
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         4. Inappropriate/Excessive attachments.*
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         5. Malicious use of vulgar, indecent, or physically threatening language. 2 Sub ission CGO Initial :
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    CGO Staff Signature:                                                        Date Returned to Offender:

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    1-128 Back (Revised 11-2010)                                                                             Appendix G
         Case 1:18-cv-00094-MAC-KFG Document 5 Filed 03/28/18 Page 24 of 67 PageID #: 87
                    Texas Department of Criminal Justice                                      OFFICE USE ONLY
                                                                                       Grie ance #:
                   ' 1 OFFENDER                                                        Date Received: "
                         & I Mjr 1 GRIEVANCE FORM
                                                                                       Date Due:.                   -wo
                                                                                       Grievance Code: L-                _)(

Offender Name                   II A jO TDCJ #                                         Investigator ID #: AAA) l

Unit: Ai L tJ                   Housing Assignment: // <£0 30                          Exten ion Date:

Unit where incident occurred: _                             M . al                     Date Retd to Offender: AU6 2 2017


You must try to resolve our problem with a «aff member before you submit a formal complaint. The only exception is hen
appealing the results of a disciplinary hearing. A / / < /                            *, 0 a n        & L e s> jy .} iA
Who did you talk to (name, title)? LJ iA < kfo U Idlj X **/) tLOfl Mf (jn djt/) {Mt OJ When? fyu KjAf
What was their response? i zdJ) Bryfete '
What action was taken?   ojtcJj iI   /fyuj nSi ) Lt>rC J (M/hJ! Ot Mi / £4Ki ai]- A AsAAAyrhi                             '
State your rievance in the space provided. Please state who, what, hen, where and the disciplinary case number if appropriat




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             Case 1:18-cv-00094-MAC-KFG Document 5 Filed 03/28/18 Page 25 of 67 PageID #: 88
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           ¦ Signature:                                                                                            Date
Grievance Response:
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          Review in Major case #20170344829 revealed no errors in procedure, due process or
          punishment phase. The report will not be dismissed.

                                                                     WARDEN A. TOMPKINS
                                                                                                                                                     V




Signature Authority: L-j pt -
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If you are dissatisfied with the Step 1 respon e, youmt y submit a Step 2 (1-128) to the Unit Grievance Investigator within 15 days from the date of the Step'l response.
State the reason fo appeal on the Step 2 Form.

Returned because:           *Resubmit this form when the corrections are ma e.

    l. Grievable time period has expired.
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FI 3. Originals not submitted. *
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    4. Inappropriate/Excessive attach ents. *
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    5. No documented attempt at i formal resolution. *
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    6. No requested relief is stated. *
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    7. Malicious use of vulgar, indece t, or physically threatening language. *
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    8. The issue presented is not grievable.
                                                                                                               Grievance #:
    9. Redundant, Refer to grievance #
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    10. Illegible/Inco prehensible. *                                                                          Date Reed from Offender:
    ll . Inappropriate. *                                                                                      Date Ret rned to Offender:

UGI Printed Name/Signature:                                                                                       Submission UGI rnitiais: )
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Application of the screening criteria for this grievance is not expected to adversely
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Affect the offender s health.
                                                                                                               Date Reed from Offender:
Medical Signature Authority:                                                                                   Date Returned to Offender:

1-127 Back (Revised 11-2010)
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            Case 1:18-cv-00094-MAC-KFG Document 5 Filed 03/28/18 Page 26 of 67 PageID #: 89
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                                                                                                         OFFICE USE ONLY
                               Texas Department of Criminal Justice                                Grievance #:

                                                                                                   UGI Reed Date: f 7 7
                            STEP 2                          OFFENDER                               HQ Reed Date: $!r,F 0 8 2017
                                                        GRIEVANCE FORM                                        !
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    Offender Name:, ) LtfjtA TDCJ # DSMf                                                           Grievance Code:.           2
    Unit:         Housing Assignment: //                                        j!    ??           Investigator ID#:.
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    Unit where incident occurred:.
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            You m st attach the completed Step 1 Grievance th t has been signed by the Warde for yo r Step 2 appeal to be
            accented. You may not appeal to Step 2 with a Step 1 that has been ret rned unprocessed.

    Give reason for appeal (Be Specific). 1 a di atisfied with the response at Step 1 because...
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Offender Signature:                                                                   : 3-lJ&o ?
Grievance Response:




               Major Disciplinary Case #20170344829 has been reviewed. The disciplinary charge
               was -appropriate for- the -offense and the -guilty- verdict was supported - by a
               preponderance of the evidence. All due process requirements were satisfied and the
               punishment assesse by the Disciplinary Hearing Officer (DHO) was within agency
               guidelines. Hearing records verified that due to your disruptive behavior, you were
, i „ excluded from the hearing. No evidence was found to indicate that any requests
         •* were received Py the co nsel subs itute s office to listen to the udio reco ding of this
            dllciplinary hearing. No further action warranted by this office as your grievable
                remedies are now considered exhausted.




Signature Authority:                                                            Date:
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C 1. Grievable ti period has ex ired.                                     ' Date (jX      Rcc : r 1          " ,   1 • ¦ ' r -


     2. Illegible/Incomprehensible.*                                       Dale CGO Reed:
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     3. Originals not submitted. *
                                                                           Comments:                                       .
C 4. Inappropriate/Excessive attachments.*
                                                                           Date Returned to Offender:
     5. Malicious use of vulgar, indecent, or physically threatening language. 2 Submission CGO Initial :
                                                                           Date UG1 Reed:
C 6. Inappropriate.*
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1-128 Pack (Revised 11-2010)                                                             - --      A pendix G
         Case 1:18-cv-00094-MAC-KFG Document 5 Filed 03/28/18 Page 28 of 67 PageID #: 91
                    Texas Department of Crimi l J stice                                         OFFICE USE ONLY
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                      CTWlDil ' ''OFFENDER                                               Date Received:
                          1 ic 1 GRIEVANCE FORM
                                       fU )                                              Date Due: ~ "              m

                                                                                         Grievance Code

Offender Name                                       „ tdcj # ti ym                       Investigator ID ft:        =s\

Unit:                            Housing Assignment: fj fog .Wt ,                   3u   Extension Date

Unit where incident occurred:         ML                                                 Date Retd to Offe der:
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         f&jmJ               dM            ¦» s$)
You must try to resolve your problem with a staff member before you submit a formal complaint. The only e ception is hen
appealing the results of a disciplinary hea ing.




State your grievance in the space provided. Please state who, what, when, where nd the disciplinary case number if appropriate




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 Grievance Response:



                       REVIEW OF MAJOR CASE# 20180029655 REVEALED NO ERRORS IN PROCEDURE, DUE
                       PROCESS OR THE PUNISHMENT PHASE. THE REPORT WILL NOT BE DISMISSED.

                                                                     WARDEN A. TOMPKINS




                                                   /Yjy NOV H 2017
 Signature                                 Authority:                              /    _Jka                 -     ~~           >              Date:
 If you are dissatisfied with the Step 1 esponse, yoir ay /ub )it a Step 2 (1-128) to the U it Grievance Investigator within 15 days from the date of the Step 1 response.
 State the reason for appeal on the Step 2 Form.

 Returned because: *Resubmit this form when the corrections are made.

     l. Grievable time period has expired.
     2. Submission in excess of .1 every 7 days. *                                                                          OFFICE USE ONLY .
                                                                                                                 Initial Submission UGI Initials:
     3: Originals not submitted. *
                                                                                                                 Grievance                                #:
     4. Inapprop iate/Excessive attachments. *
                                                                                                                 Screening Criteria Used: :
     5. No documented attempt at informal resolution. *
                                                                                                                 Date Reed from Offender:
     6. No requested relief is stated. *
                                                                                                                 Date Returned to Offender: ¦
 n 7. Malicious use of vulgar, indecent, o physically threatening language. *
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     8. The issue p esented is not grievable.
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     9. Redundant,                       efer to grievance if                                                    Screening Criteria Used:
     10. Illegible/Incomprehensible. *                                                                           Date Reed from Offe der:
     11. Inappropriate. *                                                                                        Date Returned to Offender. • .

 UGI Printed Name/Signature:                                                                                        Submission UGI Initials: r
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 Application of the scr enin criteria for this grievance i not expected to adversely
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 Affect the offende                                 health. 1
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 Medical Si nature Autho ity:                                                                                    Date Returned to Offender:                         ,

 1-127 Back (Revised 11-2010)
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        Case 1:18-cv-00094-MAC-KFG Document 5 Filed 03/28/18 Page 30 of 67 PageID #: 93

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                           Texas Department of Criminal Justice                                  Grievance #:

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                                                         OFFENDER                                HQ Reed Date          m l 6 2()V
                                                     GRIEVANCE FORM                              Date Due:

Offender Name:.                                               TDCJ #                             Grievance Code:

Unit:                               Housing Assignment: // &&-£*?                                Investigator ID#: : SO.
Unit where incident occurred                                                                     Extension Date:



        Yo m st attach the completed Step 1 Grievance that has been signed by the Warden for yo r Step 2 appeal to be
        accepted. You may not appeal to Step 2 with a Step 1 that has been returned unprocessed.

Give reason for appe l (Be Specific). I am dissatisfied with the response at Step 1 because...


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          Case 1:18-cv-00094-MAC-KFG Document 5 Filed 03/28/18 Page 31 of 67 PageID #: 94




Offender Signature:    6u> r                                                          Date: /J /jI /
Grievance Response:




             Disciplinary Case #20180029655 and all related investigative documentation has been
             reviewed. The investigation finds that sufficient evidence was presented to support the 24.2
             charge and finding of guilt. All due process requirements were satisfied and the punishment
             imposed was within agency guidelines. No further action warranted by this office.




Si nature Authority:                  E     BARNETT                -   • ~ > Date:

Returned because: *Resubmit this form when corrections are made.                            OFFICE USE ONLY
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    1. Grievable time period has e pired.                                       Date UGI Reed:

ED 2. Illegible/Incomprehensible.*                                              Date CGO Reed:
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CD 4. Inappropriate/E cessive attachments.*
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    5. Malicious use of vulgar, indecent, or physically threatening language.   2M Submission CGO Initials:
                                                                                Date UGI Reed:
ED 6. Inappropriate.*
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                                                                                Comments:

CGO               Staff            Signature:                                   Date Retu           ed to Offender:

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1-128 Back (Revised 11-2010)                                                                              Appendi G
         Case 1:18-cv-00094-MAC-KFG Document 5 Filed 03/28/18 Page 32 of 67 PageID #: 95

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                            Te as Department of Criminal Justice                                 Grievance #:

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                        STEP 2 ? OFFENDER                                                        HQ Reed Date: _
                                                     GRIEVANCE FORM                              Date Due:

Offender Name:                                   ___ tdcj # 2mL                                  Grievance Code:.

Unit: _Ai£k}                         Housing Assignment:                                        Investigator ID#:

Unit where incident occurred:                                                                    Extension Date:



         Yo m st attach the completed Step 1 Grievance that has been signed by the Warden for yo r Step 2 appeal to be
         accepted. Yo may not appeal to Step 2 with a Step 1 that has been ret rned unprocessed.

Give reason for appeal (Be Specific). I am dissati fied with the response at Step 1 because..


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         Case 1:18-cv-00094-MAC-KFG Document 5 Filed 03/28/18 Page 33 of 67 PageID #: 96




Offender Signature: iQf CjS D
Grievance Response:




Signature                         Authority:                        Date:

Returned because: *Resubmit this form when correctio s are made.                          OFFICE USE ONLY
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    1. Grievable time period has expired.                                     Date UGI Reed:

    2. Ille ible/I comprehensible.*                                           Date CGO Reed:
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C 5. Malicious use of vulgar, indecent, or physically threatening language.   2    Submi sion CGO Initial :
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CD 6. Inappropriate.*
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CGO Staff Signature: ______________________________                           Date Returned to Offender:

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1-128 Back (Revised 11-2010)                                                                               Appendix G
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Offender Name:                .    U &Zwlv TDCJ #                          73             Investigator ID #:

Unit:                               Housing As ignment: f4-3hi3 i                         Exten ion Date: _

Unit where incident occul ed                                                              Date'Retd to Offender:.



You must try to resolve your problem with a staff member before you submit a formal complaint. The only exception is when
appealing the results of a disciplinary hearing. . ,
Who did you talk to (name, title)? (                                            A AaIIa                  * When? /thj
What was their response? .a uu -J J/juvuM jduM/ &MH
What action was taken?                                -A           fr-ty sYKja            trj

State your grievance in the space provi ed. Please state who, hat, when, where and the disciplinary case number if appropriate
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                                & L, AjL&Ajp /hta J otuUAM**-) 'M jL UJ K lc a
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                                       'AAA 'Mah Sti . Ajl M ffJjt A / J Aj i jutAi JtA                                            S /M !sTa ImJ ) txlttli
          'J ' /A4,3a

Offender Signature:                                                     A / dA                                    Bate: _ i&€ Uiv\Jj-es         J /j.o ~
Grievance Response:




Signature Authority:                                                                                                                       Date:
If you are dissatisfied with the Step 1 response, you may submit a Step 2 P-128) to the Unit Grievance Investigator ithin 15 days from the date of the Step 1 response.
State the reason for appeal on the Step 2 Form.

Returned because:           *Resubmit this fo m when the corrections are made.

    l. Grievable time period has e pired.
    2. Submission in excess of 1 every 7 days. *                                                                         OFFICE USE ONLY
                                                                                                              I itial Submission           UGI Initials: ( J
    3. Originals not submitted. *
                                                                                                              Grievance #
    4. Inappropriate/Excessive attachments. *

    5. No documented attempt at info mal resolution. *
                                                                                                              Date Reed from Offender:     _0/-A2 £
    6. No requested relief is stated. *
                                                                                                              Date Returned to Offen er            - id-if-
    7. Malicious use of vulgar, indecent, or physically threatening language
                                                                                                                                           UGI Initials:
    8. The issue presented is not grievable.
                                                                                                              G ievance #: .
   j 9. Redundant, Refer to grievance # 30! fid (*133                                                         Screening Criteria Use : _

 FI 10. lllegible/Incomprehensible. *                                                                         Date Ree from Offe de
    11. Inappropri te. *                                                                                      Date Returned to Offender:

UGI Printed Name/Signatur * Jfflh rYW                                                                            Submission UGI Initials:,
                                                                                                              G       ievance                      #:
Application of the screening criteria for this grievance is not ex ected to adversely
                                                                                                              Screening Criteria Used: .
Affect the offender s health.
                                                                                                              Date Reed from Offender: _

Medical Signatu e Authority:                                                                                  Date Returned to Offender:

1-127 Rack (Revised 11-2010)
                                                                                                                                                           Appendix F
            Case 1:18-cv-00094-MAC-KFG Document 5 Filed 03/28/18 Page 36 of 67 PageID #: 99
                                                                                                               NOV 2 9 201?
                                                                                                         OFFICE USE ONLY
                              Texas Department of Criminal Justice                                 Grievance #   . Mims t
                                                                                                   UGI Reed Date:  : IQ lfll
                           STEP 2 1 OFFENDER                                                       HQ Reed Date;       OCT 1 9 291?
                                                        GRIEVANCE FORM                             Date Due:       l. -7
Offender Name:                                       TDCJ #                                        Grievance Code:.

Unit:                                  Housing Assignment:,                     S?                 Investigator ID#:

Unit here incident occurred: A~£ <l>                                                               E tension Date:



            You m st attach the completed Step 1 Grievance that has been ig ed by the Warden fo your Step 2 appeal to be
            accepted. You may not appeal to Step 2 with a Step 1 that has been returned unprocessed.
  -                                    1

Give reason for appeal (Be Specific). I am dissatisfied with the response at Step 1 because... t Q
  dm & -                    - k        JHjfA/tfL Jjsl& ? os uam 7                                                      -


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1-128 Front (Revised 11-2010)                YOUR SIGNATURE IS REQUIRED ON BACK OF THIS FORM                                  (OVER)
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             Case 1:18-cv-00094-MAC-KFG Document 5 Filed 03/28/18 Page 37 of 67 PageID #: 100




OflfenderSignature                                4                                Date: IW<4 /7
Grievance Response:




                   For Access to Courts purposes, offenders are only entitled to receive copies of TDCJ
                   documents listed on PIA Chapter 3, Attachment A. You are not entitled to a copy of
                   an 1-210. In addition the delivery of legal research material to offender with
                  indirect access to the law library was conducted, in accordance with ATC-080. No
                  further action is warranted.


                   R. Pool, Asst. Program Manager, Access to Courts




Signature Authority:                                                               Date:                         7
Returned because: *Resubmit this form when correctio            are made.                   OFFICE USE ONLY
                                                                              Ini ial Submission CGO Initials:
       1. Grievable time period has expired.                                  Date UGI Reed:

C] 2. Illegible/Incomprehensible.*                                            Date CGO Reed:
                                                                                (check one) Screened Improperly Submitted
CD 3. Ori inals not submitted. *
                                                                              Comments:
E 4. Inappropriate/E cessive attachments.*
                                                                              Date Returned to Offe der:
E 5. Malicious use of vulgar, indecent, or physically threatening language;   2M Sub ission CGO Initial :
                                                                              Date UGI Reed:
CD 6. Inappropriate.*
                                                                              Date CGO Reed:
                                                                                (check one) Saeened Improperl Submitted
                                                                              Comments: - -                        ¦ - ¦ - ¦ -


CGO Staff Signature:                                   - ¦                    Date Returned to Offender:.
'¦ .    ¦ iUi. i •'                                                                                          CGO
                                                                              Date UGI Reed:
                                                                              Date CGO Reed:
 >; '(> i', {ii   i: Aii ti : 'i: V _ _                                               ¦r
                                                                              , (checkimej. Screened Imp? operly Submitted
                                                                              Comments:               i ~_rH_r

                                                                              DM Retu n d tp: Offender: _
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1-128, (Revised 11 ai) I Of. f,                                                      r/ ¦ re,               Appendix G

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          Case 1:18-cv-00094-MAC-KFG Document 5 Filed 03/28/18 Page 38 of 67 PageID #: 101




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       Case 1:18-cv-00094-MAC-KFG, V*Document 5 Filed 03/28/18 Page 39 of 67 PageID #: 102
                     Texas Department of Criminal J stice                                     OFFICE USE ONLY
                                                                                       Grievance #   .MVQiltfl
                                         OFFENDER                                      Date Received
                          ) 1 ]£ k 1 GRIEVANCE FORM                                                       o'-mi
                                                                                       Date Due:

                                                                                       Griev nce Code:

Offe der Name: c4~n                       >J      TDCJ #                               Investigator ID #:. VISA
Unit:. A uL _ Housin Assignment:                                                       E tension Date:

Unit where incident occurred:.                                                         Date Retd to Offender:
                                                                                                           r:-gCFf-7-       mi


You must try to resolve your problem with a staff member before you submit a formal complaint. The only exception i when
appealing the results of a disciplinary heari g. // /                                                       /    // >
Who did you talk to (name, title)? h.Kluk jJ A , When? //
What was their response? eJ Jsl
W hat action was taken?

State your grievance i the space provided. Plea e state ho, what, when, where and the disciplinary case number if appropriate
(                         jv                            IA

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1-127 Front (Revised 11-2010) YOUR SIGNATURE IS REQUIRED ON BACK OF THIS FORM                                              (OVER)

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             Case 1:18-cv-00094-MAC-KFG Document 5 Filed 03/28/18 Page 40 of 67 PageID #: 103

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Actipn Requegted to esolve ywr Complaint /                                        £ , « _ . , ,, /
~MA 4 tA, Mr, A.                                 y       o-Uf S A£&MA ( Z


Ql ender Sig ature: - l M-,d~                                 d >lejA /<A * /~{Z Date: J> S7fc ?Y\/r&p Jl€> /jr)/fY

Grievance Response:




                     Investigation revealed that your requests are received and being processed in
                     accordance with ATC-080. Continue to contact Law Library staff with your
                     concerns and requests. No action through the rievance process is warranted.

                                                                       WARDEN A. TOMPKI S


                                                                                                                                                  ocr> 7 mi
Signature Authority:                                                                                                                     Date:
If you ave dissatisfied with the Step 1 esp          ay submit a Step 2 (1-128) to the Unit G ievance Investigato within 15 days from the date of the Step 1 response.
State the reason fo ap eal on the Step 2 Form.

Returned because:          *Resubmit this form when the corrections a e made.

    l. Grievable time period has expired.
    2. Submission in excess of 1 every 7 days. *                                                                        OFFICE USE. ONLY.
                                                                                                             Initial Submission UGI Initials:
    3. Originals not submitted. *
                                                                                                             Grievance                               #:
    4. Inappro riate/Excessive attachments. *
                                                                                                             Screening Criteria Used:
    5. No documented attempt at informal resolution. *
                                                                                                             Date Reed from Offender:
    6. No requested relief is stated. *
                                                                                                             Date Returned to Offender:
    7. Malicious se of vulgar, in ecent, or physically threatening language. *
                                                                                                             2"11 Submission UGI Initials:
    8. The issue presented is not grievable.
                                                                                                             Grievance                               #:
    9. Redundant, Refer to grievance #                                                                       Screening Criteria Used:                     '
    10. Illegible/Incomprehensible. *                                                                        Date Reed from Offender:
    11. Inappropriate. *                                                                                     Date Returned to Offender:

UGI Printed Name/Signature:                                                                                  y'-Siihmissioii UGI I itials:
                                                                                                             Grievance                               #:
Application of the screenin criteria for this rievance is not expected to adversely                          Screening Criteria Used:
Affect the offender s health.
                                                                                                             Date Reed from Offender:
Medical Si nature Authority: 1                                                                               Date Returned to Offender:                   • ¦


1-127 Back (Revised 11-2010)
                                                                                                                                                          Appendi F
        Case 1:18-cv-00094-MAC-KFG Document 5 Filed 03/28/18 Page 41 of 67 PageID #: 104
                     Texas De artoieiif oi                   ti i al J stice                   OFFICE USE ONLY
                                                                                       Grievance #

                           n     Tn
                                          OFFENDER
                                       -(1 a                                           Date Received
                         kS) 11 Jj 1 GRIEVANCE FORM
                                     lAJ
                                                                                       Date D e:         raid
                                                                                       Grievance Co e

Offender Name:                                              TDCJ # M 3 -               Investigator ID #:    EiM
U it:                             Ho sing Assignment:                                  Exte sion Date:
                                                   n.
Unit where inc de t occurred:                                                           Date Retd to Offen er   IM 2 2-2M7)
You must try to resolve you problem with a staff member before you submit a formal complaint. The only exception is when
a pealing the results of a disci linary hearing.
Who did you talk to (name, title)? '
What was their response?

What action was taken?

State you grievance in t e space provided. Please state w o,    at, w en, where and the di ci linary case number if a ropriate j
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                      -                                 '                           Ti               .      .




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             Case 1:18-cv-00094-MAC-KFG Document 5 Filed 03/28/18 Page 42 of 67 PageID #: 105




 Jrievance Response:

                      You contacted the grievance office and stated that you received your
                      property. Thank you for the information. No further action is
                      warrranted.

                                                                              WARDEN W. BREWER




Signature Authority:                                                                                                                        Date:
                                                                                                                                                    r® : 2120171
If you are dissatisfied with the Step 1 response, you may submit a Step 2 (1-128) to the Unit Grievance Investigator within 15 da s from the date of the Step 1 response.
State the reason for appeal on the Step 2 Form.

Returned because: *Resubmit this form when the corrections are made.

    l. Grievable time period has expired.
    2. Submission in excess of 1 every 7 days. *                                                                           OFFICE USE ONLY
                                                                                                               Initial Submission UGI Initials:
    3. Originals not submitted. *
                                                                                                               Grievance                               #:
    4. Inappropriate/Excessive attach ents. *
                                                                                                               Screeni g Criteria Used:
    5. No documented attempt at informal resolution. *
                                                                                                               Date Ree             from Offender:
    6. No requested relief is stated. *
                                                                                                               Date Returned to Offender:
    7. Malicious use of vulgar, indecent, or physically threatening langua e. *
                                                                                                               l Submissioji UGI Initials:
    8. The issue presented is not grievable.
                                                                                                               Grievance                               #:
    9. Redundant, Refer to grievance #                                                                          Screening Criteria Used:
    10. Illegible/Incomprehensible. *                                                                          Date Reed from Offender:
    11. Inappropriate. *                                                                                       Date Retu ned to Offender:

UGI Printed Name/Signature:                                                                                    S Submission UGI Initials:
                                                                                                                Grievance                              #:
Application of the screenin criteria for this grievance is not expected to adversely
                                                                                                                Screening Criteria Used:
Affect the offender s health.
                                                                                                                Date Reed from Offender:
Medical Signature Authority: 1                                                                                  Date Returned to Offe der:

1-127 Back (Revised 11-2010)
                                                                                                                                                             Appendi F
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                                                                                                    OFFICE USE ONLY

                         Texa Departnient of Criminal J stice                                 Grievance     Aor7 t?/£/
                                                                                              UGI Reed Date:       7-3-/7
                        STEP 2                   OFFENDER                                     HQ Reed Date: JAUU 0 5 2077
                                                   GRIEVANCE FORM                             Date Due:
                                                                                                                   £//3-
Offender Name: TDC J                                                                 /        Grievance Code:.       /3
Unit: Housing Assignment: 7~                                                                  Investi ator ID#:.    /773>
Unit where incident occurred:                                                                 Extension Date:

            A          -J ~           o/1) ISCJAl.
       Yo must attach the completed Step 1 Grievance that has been signed by the Warden for your Step 2 appeal to be
       accepted. You may not appeal to Step 2 with a Step 1 that has been retur ed unprocessed.


Give reaso for appeal (Be Specific). I am dissatisfied with the response at Step 1 because... .
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                                      &/dcy'ay J AJAA                                       *M>
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           /       r    A ? Asr Aj yplj y - AnMUYSm f y j&df
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 yf AAk                dAAy cjJl /UL /Ay. jJJo fAzf h. » f Jfcf Ad/y- , .:M&1\

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                                                                                                                           Appendix G
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           Your grievance was investigated and disclosed that staff returned the remainder of your property after
           your release from PHD. No further action is warranted.




Sig ature Authority:                                                                   Date:                   G 0 - 3 2017
Returned because: "Resubi it this form whejt.jgQi $£!tiansJar6<itMle.                          OFFICE USE ONLY
                                                                                 Initial Submission CGO Initials:
    1. Grievable time period has e pi ed.                                        Date UGI Reed:
                                                                                 Date CGO Reed:
    2. Ille ible/Incomprehensible.*
                                                                                    (check one) Screened          ..Impro erly Submitted
D 3. Originals not sub itted. *
                                                                                 Comments:
    4. Inappropriate/Excessive attachments.*                                     Date Retu ed to Offender:

E 5. Malicious use of vulgar, indecent, or physically threatening lan uage,      Z 1 Submission                   CGO Initial :.
                                                                                 Date UGI Reed:
C 6. Inappropriate.*
                                                                                 Date CGO Reed:
                                                                                    (check one) Screened          -.Improperly Submitted

                                                                                  Comments:

                                                                                  Date Ret ed to Offender: _
CGO Staff Signature:
                                                                                  3 Sub issio                     CGO Initial :.
                                                                                  Date UGI Reed:
                                                                                  Date CGO Reed:
                                                                                    (chec one) Screened            -.Improperly Submitted

                                                                                  Comments:

                                                                                  Date Returned to Offender:



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                 Texas Departme t of Criminal J stice               OFFICE USE ONLY

                                                                                            Griev nce #:
                                       OFFENDER                                             D te Received:
                         O k io 1 GRIEVANCE FORM
                                                                                            Date Due:.

                                                     l   . (f
                                                                                            Griev nce Code:

Offender Name:                                                  TDCJ #                      Investigato ID #:.

Unit: _         o sing Assi nment:,                             ±$_o ? ?                    Extension Date:

Unit where incHiemr
           incide t occurred                    occ             rreo:                 -     Date Retd to Offen e :


                                                      A"                ¦
You must try to resolv yo r problem with a staff member befo e you submit a for al complaint. The only exceptio is when
appeal ng the results of a discipli ary h arin
                                   nary        heari g. .     /                                                  >
Who did you talk to (name, title)?     iMSh /MMr fUJUdJ ; When?
What was their esponse?

What actio was taken?             <LJ                                                                     /                    f
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Etau1 our grievance in Uw s are rnvidol. Rle se si te liow ln , hen, h re an the disci linar case number if appni vaic
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             Case 1:18-cv-00094-MAC-KFG Document 5 Filed 03/28/18 Page 46 of 67 PageID #: 109


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Offender Signature:                                                                                                 Date

Grievance Response:




Signature                                                      Authority:                                                            Date:
If you are dissatisfied will] tlie Step 1 res onse, you may submit a Step 2 (1-128) to the Unit Grievance Investigator ithin 15 days from the date of the Step 1 response.
State the reason for ap eal on the Step 2 Form.

Returned beealtse: *Resubmit this form when the corrections are made.

    1. Grievable time period has expire .
    2. Submission in excess of 1 every 7 days. *                                                                           OFFICE USE ONE
                                                                                                                Initial Submission UGI Initials
    3. Originals not submitted. *
                                                                                                                Grievance #:
I~1 4. Inappropriate/Excessive attachments. *
                                                                                                                Screening Criteria Used: \
    5. No documented attempt at informal resolution. *
                                                                                                                Date Reed from Offender:
l~l 6. No requested relief is stated. *
                                                                                                                Date Retu ned to Offender: S va
    7. Malicious use of vulgar, indecent, or physically threatening language.
                                                                                                                l SuhiTiission                UGI I itials:
    8. The issue resented is not grievable.
                                                                                                                Grievance #:
    9. Redundant, Refer to grievance #                                                                          Screening Criteria Used: _
    10. Illegible/Incomprehensible. *                                                                           Date Reed from Offender:
    11. Inappropriate. *
                                                                                            ¦iZOCy
                                                                                                                Date Returned to Offender:

UGI Printed Name/Signature:                                                                                     ¦f S bmission                 UGI Initials:
                                                                                                                Grievance #:
Application of the screening criteria for this grievance is not expected to adversely
                                                                                                                Screening Criteria Used:
Affect the offender s health.
                                                                                                                Date Reed from Offender: _
Medical Signatu e Authority:                                                                                    Date Returned to Offender:

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                    Texas Department of Criminal Justice                                            OFFICE USE ONLY
                                                                                          Grievance #:
                                     1 OFFENDER                                           Date Received:
                           IJ      1 GRIEVANCE FORM
                                                                                          Date Due:

                                                                                          G ievance Code: .

Offender Namei S O OA A                              TDCJ #                               Investi ator ID #:

Unit:. h/ibv         Housing Assignment:                                                  Extension Date:

Unit where incident occurred:             MSI                                             Date Retd to Offender:



You mu t try to resolve your problem with a staff member before you submit a formal complaint. The only exception is when
appealing the results of a disciplinary hearing.
                         ne, title)? J.LIaa                     Qrl// //I                           When? fitc U4A C>/d( y
What was their response?                                                                                           AM t ' 7 n 1
                                                                                                                   •ftIII] 1 I mli
What action was taken?      /\ MniWaA C Zt jSUh JL                ~ A 4,

State your grievance in the space provided. Please state who, what, when, where and the disciplii     case number if appropriate


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 Grieva ce Response




 Signature                                                    Authority:                                                             Date:
 If you are dissatisfie with the Step 1 response, you may submit a Step 2 (1-128) to the Unit Grievance Investigator within 15 days from the date of the Step 1 response.
 State the reason for appeal on the Step 2 Form.

 Returned because: *Resubniit this form when the corrections are made.



        Submission in excess of 1 every 7 days. *                                                                          OFFICE USE ONL1
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     4, Inappropriate/Excessive attachments. *
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 ]2 No documented attempt at informal resolution. *
                                                                                                                Date Reed from Offender: -2-/7-/
     6. No requested relief is stated. *
                                                                                                                Date Returned to Offender: ( s i /~
     7. Malicious use of vulgar, indecent, or physically threatening language.
                                                                                                               l Submission UGI initials:.
     8. The issue presented is not grievable.
                                                                                                                Grievance #:
     9 . Redundant, Refer to grievance # ;                                                                      Screening Criteria Used:
     10. Illegible/Incomprehensible. * \                                                                       Date Reed from Offender:.
     11. Inappro riate. * l                                           "     / '       /I /                      Date Returned to Offender:

 UGI Printed Name/Si nature: f Jr .X l I ~ S*                                     ci1 ~                        a Submission UGI initials:.
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 Application of the screenin criteria for this grievance is not expected to adversely
                                                                                                                Screening Criteria Used: .
 Affect the offender s health.
                                                                                                               Date Reed from Offender: _
 Medical Signature Authority:                                                                                  Date Returned to Offender:

 1-127 Back (Revised 11-2010)
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        Case 1:18-cv-00094-MAC-KFG Document 5 Filed 03/28/18 Page 49 of 67 PageID #: 112
                                                                                                                JAN 0 5 H«
                                                                                                      OFFICE USE ONLY

                           Texas Dep rtment of Criminal Justice                                 Grievance #: i/_

                                                                                                UGI Reed Date
                        STEP 2 OFFENDER                                                         HQ Reed Date:       DEC 0 s mi
                                                    GRIEVANCE FORM                              Date Due:     h iLl
Offender Name:.                                  mJc/Q m                      tdcj              Grievance Code:.

                                                                                                Investigator ID#:
                                                                                                                     T1312
Unit:           Housing Assi nment: // 3
Unit where incident occurred: _                                                                 Extension Date: _




         You must attach the completed Step 1 Grievance that has been signed by the Warden for yo r Step 2 appeal to be
        accepted. You may not appeal to Step 2 with a Step 1 that ha been returned nprocessed.

Give reaso for appeal (Be Specific). / am dissatisfied with the response at Step 1 because...
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1-128 Front (Revised 11-2010)             YOUR SIGNATURE IS REQUIRED ON BACK OF THIS FORM                                       (OVER)
                                                                                                                             Appendix G
         Case 1:18-cv-00094-MAC-KFG Document 5 Filed 03/28/18 Page 50 of 67 PageID #: 113




Offender Signature:                                                                Date:

Grievance Response:




           An investigation was conducted into your concerns. Your allegations concerning your radio are being
           addressed in your Step 2 grievance #2018019831 at this time. Grievance #2018033773 was screened for
           time appropriately. No further action warranted. U4'                            do/ p & 3 -j, {)d




                       /                   /i...

Sig ttire Atit oi-itv: - I I it ' . '                  .. :       bl l-OCK Date. DEC 1 8 2017

Returned because: *Res bmit this form whe correctio s are made.                             OFFICE USE ONLY
                                                                              Initial Submission CGO Initial :
    1. Grievable time eriod has expired.                                      Date UGI Reed:

C 2. Illegible/Incomprehensible.*                                             Date CGO                          eed:
                                                                                (check one) Screened Improperly Submitted
E 3. Originals not submitted. *
                                                                              Comments:
l 4. Inappropriate/Excessive attachments.*
                                                                              D te Retu             ed to Offender:
[ 5. Malicious use of vul ar, indecent, or physically threatening langua e.   P     Submis ion CGO Initials:
                                                                              Date UGI Reed:
    6. Ina propriate.*
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CGO Staff Signature:                                                          Date Retu          ed to Offender:

                                                                              3- Submissio CGO Initials:
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1-128 Back (Revised 11-2010)                                                                               Appendi G
       Case 1:18-cv-00094-MAC-KFG Document 5 Filed 03/28/18 Page 51 of 67 PageID #: 114
                Texas De artme t of Crimin l J stice               OFFICE USE ONLY

                                                                                       Grievance #:

                           rwTQ) 1 ¦ OFFENI)ER                                         Date Received:        \ 2 -XL
                          I /it 1 GRIEVANCE FORM
                                                                                       Date Due:
                                                  13                                                             0
                                                                                       Grievance Code:

Offender Name: Dj                                       TDCJ #                         Investigator ID #:,

Unit: A ficLbv Housing Assignment:,                                                    Extension Date:

Unit where incident occurred:                                                          Date Retd to Offe der:
                                                                                                                NOV 3 0 2011

You must try to resolve your problem with a staff member before you submit a formal complaint. The only exception is when
appealing the result                            of a disciplinary hearing. ~ i lit-.
Who did you talk to (name, title)? 033 fA2Au-± When? /_
What was their response? i                                                            :       tA -              d i y~i
What action was taken?

State your grievance in the space provided. Please state who, hat, when, where and the disciplinary case numbe if ap ro riate


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             Case 1:18-cv-00094-MAC-KFG Document 5 Filed 03/28/18 Page 52 of 67 PageID #: 115


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Offender Signature:                                                               Date: AJoV                                       Jj             JdQfp
Grievance Response:


                      A review of records revealed that grievance 2018033773 was
                      processed in accordance with AD 03.82. The issues presented
                      were redundant. No action is warranted.
                                                                                               /I .l&w &y s
                                                                         WARDE M. CR0W-




Si nature Authority:                                                                                                                        Date:
                                                                                                                                                  . A/on o 2017
If you are dissatisfied with the Step 1 response,i ou may submit a Step 2 (1-128) to the Unit Grievance Investigator within 15 days from the date of the Step 1 response.
State the reason for appeal on the Ste 2 FoP

Returned because:             Resubmit this for when the corrections are made.

I I 1. Grievable time period has expired.
1~1 2. Submission in excess of 1 every 7                                          ays. * # ~                               OFFICE USE ONLY _
                                                                                                                Initial Submission UGI Initials:_
[*~1 3. Originals not submitted. *
                                                                                                                Grievance                             #:       !
I I 4. Inappropriate/Excessive attachments. *
                                                                                                                Screening Cr teria Used:
    5. No documented attempt at informal resolution. *
                                                                                                                Date Reed from Offender:
fl 6. No requested relief is stated. *
                                                                                                                Date Returned to Offender:
    7. Malicious use of vulgar, indecent, or physically threatening language. *
                                                                                                                2 Submission UGI Initials:
[ 8. The issue presented is not grievable.
                                                                                                                Grievance                             #:       i
    9. Redundant,                       efer to grievance #                                                     Screening Criteria Used:                         _
n 10. Illegible/Incomprehensible. *                                                                             Date Reed from Offender:                      • •

    11. Inappropriate. *                                                                                        Date Retu ned to Offender: .

UGI Pri ted Name/Signature:                                                                                     3   Submission UGI Initials:
                                                                                                                Grievance                             #:       ;
Application of the screenin crite ia for this grievance is not ex ected to adversely
                                                                                                                Screening Criteria Used:
Affect the offender s health. 1
                                                                                                                Date Reed fro              Offender: ,          ¦

Medical Si nature A thority:                                                                                    Date Returned to Offender: .

1-127 Back (Revised 11-2010)
                                                                                                                                                             Appendix F
         Case 1:18-cv-00094-MAC-KFG Document 5 Filed 03/28/18 Page 53 of 67 PageID #: 116
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                                                                                                              OFFICE USE ONLY

                              Texas Department of Criminal Justice                                    Grievance #: a *? 4 8
                                                                                                      UGI Reed Date:
                           STEP 2 OFFENDER                                                            HQ Reed Date: .JVIV
                                                      GRIEVANCE FORM                                  Date Due:

Offender Name                                                     tdcj# U                             Grievance Code: _     0
Unit: _ HiLu                           . Housing Assignment: /. 7                                     Investigator ID#:.

Unit where incident occurred:                                                                         Extension Date: _




         You must attach the co pleted Step 1 Grievance that has been sig ed by the Warden for your Step 2 appeal to be
         accepted. You may not ppeal to Step 2 with a Step 1 that fets been returned unprocessed.


Give reason for appeal (Be Specific).     I am dissatisfied M ith the response at Step 1 because...
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           Case 1:18-cv-00094-MAC-KFG Document 5 Filed 03/28/18 Page 54 of 67 PageID #: 117


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  Grievance Response




              There is no indication of staff not taking the necessary steps to ensure your safety and the security of
              the institution. An Offender Protection Investigation was initiated regarding your claims and the unit
              classification committee determined a housing change was important. Contact a staff member if you
              feel your safety is at risk. No further action warranted.




 Signature Authority:                                                                      Date:

     eturned because: *Res bmit this form whe co rectio s are made.
                                                                                                   OFFICE USE ONLY
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 d 1. Grievable time period has expired.                                              Date UGI Reed:
 C 2. Illegible/Incomprehensible. *                                                   Date CGO Reed:

 d 3. Originals not submitted. *                                                         (check one) Screened Improperly Submitted
                                                                                      Comments:
 d 4. Inappropriate/Excessive attachments.*
                                                                                      Date Retu          ed to Offender:
 d 5, Malicious use of vulgar, indecent, or physically threatening language,          2- Submission CGO Initials:

 d 6. Inappropriate.*                                                                 Date UGI Reed:
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 CGO Staff Si nature:                                                                 Date Returned to Offender:

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                                                                                         (check one) Screened Improperly Submitted
                                                                                      Comments:

                                                                                      Date Returned to Offender:


 1-128 Back (Revised 11-2010)                                                                                  Appendix G
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                  Texas De artme t of Crimi al J stice               OFFICE USE ONLY

                                                         OFFENDER
                                                                                        Grievance #:   $ Lk3A%b
                         STEF 1 GRIEVANC FORM
                                                                                        Dale Received:.       dirUZ
                                                                                        D te D e: __


                                     V .                                 7              Grieva ce Code:

Offe der Name:             MJ§Je                QC3# t                fsw               Investigator ID #:.

Unit:                             Ho sin        Assig ment: . -£/                       Extension Date:

Unit where incident occurred: __                                                        Date Retd to Offender:JUL 2 5 2017

Yo must try to resolve your problem with a staff member efore yo submit a formal com lai t. The only exception is when
ap ealing the res lts of a disciplinary
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Who did yo talk to (name, title)?        aSl -S     r 7) sJ
What was their response?

What action was taken?

St te yo r grievance in the s ace provided. Please state who, what, when, where and the disciplinary ca e number if ap ro riate

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 427 Front (Revised 11-2010) YOUR SIGNATURE IS REQUIRED ON BACK OF THIS FORM JUL 1 (c»Y j8
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              Case 1:18-cv-00094-MAC-KFG Document 5 Filed 03/28/18 Page 56 of 67 PageID #: 119
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Grieva ce Response



                      An Offender Protection Investigation was initiated on your claim. On
                      7-10-17, you were reviewed by the Unit Classification Committee and
                      granted a housing change. No action is warranted.

                                                                       WARDEN A. TOMPKINS



Signature                         Authority:                     ¦¦               -<!                        .Date:                :;    ,   ;    .,¦     ¦-
If yo itrc disssifi livd it t e Step 1 res o se, yo may submit a St   2 (1-128) to the U it ( rievance iiivesti at r withi IS a s fro the ate of the Ste I res o se.
State the rea on for ap eal on the Step 2 Korin.

Returned because: *Resubmit this form when the corrections a e made.

    l. Grievable time period has expired.
    2. Submission in excess of 1 every 7 days. *                                                                       OFFICE USE ONLY
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                                                                                                            Grievance                              #:
j i 4. luappropriate/Excessive attachments. *
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    5. No documented attempt at informal resol tion. *
                                                                                                            Date Reed from Offender:
    6. No requested relief is stated. *
                                                                                                            Date Returne              to Offender.
    7. Malicious use of vulgar, indecent, or physically threatening language. *
                                                                                                            l Submission UGI Initials:
    8. The issue presented is not g ievable. 1 1
                                                                                                            Grievance                              #:
    9. Redundant, Refer to grievance #                                                                      Screening Criteria Used:
    10. Illegible/Incomprehensible. *                                                                       Date Reed from Offender:
    11. Inappropriate. *                                                                                    Date Returned to Offender:

UGI Pri ted Name/Signature:                                                                                 l Submission               GI Initials:
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Application of the screenin criteria for thi grievance is not expected to adversely
                                                                                                            Screening Criteria Used:
Affect the offender s health.
                                                                                                            Date Reed from Offender:
Medical Si nature Authority: 1                                                                              Date Returned to Offender:

1-127 Back (Revised 11-2010)
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                                                                                       Grievance #:
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Offe er Name:

Unit:. -j4J£L .
                                   r'        tdcj


                            - ¦' Housing Assignment:
                                                                                       Investigator ID #:.

                                                                                       Extension Date:
                                                                                                               A-
Unit where incident occurred: AihOh ;                                                  Date Retd to Offender: AUR 7 2 20)/


You must try to resolve your proble with a staff member before ou sub it a formal complaint. The only e ception is when
a pealing the results of a disciplinary hea in . \ i ,
Who did you talk to (name, title)? Q „ When?
What was their response? c J 'aJj                                      /j»
What action was taken? J J«

State you grievance in the pace provided. Please state who, what, hen, where and the di ciplinary case number if appropri te
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1-127 Front (Revised 11-2010) YOUR SIGNATURE IS REQUIRED ON BACK OF THIS FORM                                          (OVER)

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             Case 1:18-cv-00094-MAC-KFG Document 5 Filed 03/28/18 Page 58 of 67 PageID #: 121




                     Investigation revealed that two beverages are being served. No
                     action is warranted.

                                                                  WARDEN A. TOMPKINS




| 1. Grievable time period has expired.
| 2. Submission in e cess of 1 every 7 days. *                                               OFFICE USE ONLY
1.1 Originals not submitted. *                                                        Initial Submission UGI Initials:
                                                                                      Grievance                #;   (
 4. Inapp opriate/Excessive attachment . *
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 5. No documented attempt at informal resolution. *
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 6. No requested relief is stated. *
                                                                                      Date Returned to Offen er:
7. Malicio s use of vulgar, indecent, or physically threatening language. *
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8. The issue presented is not grievable.
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 10. Illegible/Incomprehensible. *
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 l cation of the screening criteria for this g ievance is not e pected to adversely
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 7 Back (Revised 11-2010)
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            Case 1:18-cv-00094-MAC-KFG Document 5 Filed 03/28/18 Page 59 of 67 PageID #: 122
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                              Texas Department of Criminal Justice                                 Grievance #:   JWfllS
                                                                                                   UGI Reed Date:
                             STEP 2 ,S OFFENDE                                                     HQ Reed Date: SEP 0 8 2017
                                                        GRIEVANCE FORM                             Date Due:

Offender Name:                                                    TDCJ #                           Grievance Code:      5&l
Unit           A fi           Housing Assignment: // £ *)                                          Investigator ID#:

Unit where incident occurred:                                                                      Extension Date:.

                        // #AO niMA U
            Yo m st attach the completed Step 1 Grievance that has been signed by the Warden for your Step 2 appeal to be
            accepted. You may not appeal to Step 2 with a Step 1 th t has been returned unprocessed.

Give reason for appeal (Be Specific). / am dissatisfied with the response at Step 1 because...



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Offender 1i nature:                                                                                                                5 7-
Grievance Response:




                 Step 1 response appropriate Please refer to that response. T e e was no evidence-to substantiate your
                  allegations. No further action is warranted.




Returned because: *Resubmit this form when corrections are made.                                       OFFICE USE ONLY
                                                                                         Ini ial Submission             CGO Initials:
E 1. Grievable time period has expired.                                                  Date UGI Reed:

E 2. Illegible/Incomprehensible.*                                                        Date CGO Reed:
                                                                                            (check one) Screened       Improperly Submitted
E 3. Originals not submitted. *
                                                                                         Comme ts:
EH 4. In ppropriate/E cessive attachments.*
                                                                                         Date Returned to Offender:
EH 5. Malicious use of vulgar, indecent, or physically threatening langua e.             2 Sub is ion                 CGO Initials:
                                                                                         Date UGI Reed:
EH 6. Inappropriate.*                                                                                                      :          :
                                                                                         D te CGO Reed:
                                                                                            (check one) Screened        Improperl Submitted
 ¦    ¦     -         ¦-¦¦--        :        ¦   -   ¦¦-     _•¦   -    ¦   -   -   -    Comments: - •

CGO Staff Signature:                                                                     Date Returned to Offender:

                                                                                         3- Submission                CGO Initials:
 -                                                                              -        Date UGI Reed:
                                                                                         Date CGO Reed:
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                                                                                        ,... (check one) Screened - Improperly Submitte ,

                                                                                        : Comments: ,., . ,,

                                                                                        i DateReturrted toDffender:


I-128,Bat;H (R vised U-2010)                                                                                          Appendix G

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         Case 1:18-cv-00094-MAC-KFG
                  Texas DepartmentDocument 5 Filed
                                    of Criminal    03/28/18 Page 61OFFICE
                                                Justice                    USE #:
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                                                                                  124
                                                                                         Grievance #:                   Y
                                                         OFFENDER                        Date Received:            A/
                           TEP.I GRIEVANCE FORM
                                                                                         Date Due:         r
                                                                                         Grievance Code:

Offen er Name:                                            TDCJ #                         Investigator ID #:

Unit:                           Housing Assignment: // £ 'J9                             Extension Date: _

Unit where incident occurred:. M .                                                       Date' etd to Offender:.



You must try to resolve your problem with a staff member before you submit a formal complaint. The only e ception is when
appealing the results of a disciplinary hearing. ' > <
Who did you talk to (name, title)?                                                             When?

What was their response?
What action was taken? A                             LLMAjh              ¦

State your grievance in the space provided. Please state who, hat, when, where and the disciplinary case number if appropriate
 S) s\ . /£ /*» ih . II i.'       0. J> /Lkm / .An . sJA ' .                  -J .4-   A, . J    .U , I» A jUSSjA aJ

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1-127 Front (Revised    SIGNATURE ><
                     11-2010)     IS REQUIRED                             ON BACK OF T IS Fc S ' / 6' [X
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             Case 1:18-cv-00094-MAC-KFG Document 5 Filed 03/28/18 Page 62 of 67 PageID #: 125
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Action Requested to resolve your Complaint. , /                                                                                   , / /          /      la a
                                                      '~T%J~ QMA SJi t dj XL MZ.- b>M,s > qC£g~Z&& o M                                                                    ...




                                                                                                                  Date:                    J 2 /9
Grievance Response:




Signature                                                 Authority:                                                       Date:
If ou are dissatisfied with the Step 1 response, ou may submit a Step 2 (1-1 8) to the Unit Grievance Investigator within 15 days from the date of the Step 1 response.
State the reason for appeal on the Step 2 Form.

Returned because: *Resubmit this form when the corrections are ma e.

    l. Grievable time period has expired.
    2. Submissio in excess of 1 eveiy 7 days. *                                                                          OFFICE USE ONLM*
                                                                                                              Initial Submission UGI Initials: J -J
    3. Originals not sub itted. *
                                                                                                              Grievance #: ( lOl Q 1 *%//?¥ 2 .
    4. Inappropriate/Excessive attachments. *
                                                                                                              Screening Criteria Used:
    5. No documented attempt at informal resolution. *
                                                                                                              Date Reed from Offender: _     /(-3G-/7
    6. No requested relief is stated. *
    7. Malicious use of vulgar, indecent, or physically threatening language.
                                                                                                              Date Returned to Offender.        T fg T
                                                                                                              2lul-Siihmtssion             UGI Initials:
    8, The issue resented is not grievabji                                                                    Grievance #:
Klth Redundant, Refer to grievance j                                                                          Screening C iteria Used: .
    10. Illegible/Incomprehensible. *                                                                         Date Reed from Offender:
    11. Inapprop iate. *                                                                                      Date Retu          e    to Offen er:

UGI Printed Name/Signature:                                          S? '                                     a Submission UGI Initials:
                                                                                                              Grievance #:
Ap lication of the screening criteria for this grievance is not expected to adversely
                                                                                                              Screening Criteria Used:
Affect t e offender s health.
                                                                                                              Date Reed from Offender: _
Medical Signature Authorit :                                                                                  Date Returne to Offender:

1-127 Back (Revised 11-2010)
                                                                                                                                                            Appendi F
   .a* Case
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                                                                                                       OFFICE USE ONLY

                             Texas Department of Criminal Justice                                Grievance #:

                                                                                                                                   jpst
                        STEP 2
                                                                                                 UGI Reed Date:
                                                         OFFENDER                                HO Reed Date:        .
                                                     GRIEVANCE FORM                              Date Due:
                                                                                                                          </'


                                                          I TDCJ # W&lH
Offender Name                   jQ                                                               Grievance Code:

Unit:                                 lousing Assignment: //
                                     Housins                                                     Investigator ID#:

Unit where incident occurred:. M                                                                 Extension Date:



         Yo must attach the completed Step 1 Grievance that has been signed by the Warden for yo r Step 2 appeal to be
        accepted. You may not appeal to Step 2 with a Step 1 that ha bee returned unprocessed.


Give reason for appeal (Be Specific). I am dissatisfied with the response at Step 1 because...
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1-128 Front (Revis 11-2010)               YOUR SIGNATURE IS REQUIREDt0N BACK OF THIS ORM                                          (OVER)
                                                                                                                                Appendix G

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                                                                  V


                                                                      /Pd/tyz}       _      °B \/


Offender Signature: ' SL&aaJ               Q l>                                  Date:              q/ _
Grievance Response:




Signature                        Authority:                           Date:

Returned because: Resubmit this form when corrections are made.                          OFFICE SE ONLY
                                                                           Initial Submi ion CGO Initials:
E 1. Grievable time period has expired.                                    Date UGI Reed:

E 2. Illegible/Incomprehensible.*                                          Date CGO Reed:
                                                                             (check one) Screened Improperly Submitted
EH 3. Originals not submitted. *
                                                                           Comments:
EH 4. Inappropriate/E cessive attachments.*
                                                                           Date Retu          ed to Offender:

    5. Malicious use of vulgar, indecent, or physically threatening language. 2 Submission CGO Initials:
                                                                           Date UGI Reed:
EH 6. Inappropriate.*
                                                                           Date CGO Reed:
                                                                             (check one) Screened     Im ro erly Submitted
                                                                           Comments:

CGO Staff Signature:                                                       Date Retu          ed to Offender:

                                                                           yd S b i sion CGO Initials:
                                                                           Date UGI Reed:
                                                                           Date CGO Reed:
                                                                             (check one) Screened Improperly Submitted
                                                                           Comments:

                                                                           Date Returned to Offender:



1-128 Back (Revised 11-2010)                                                                        Appendi G
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                     TEXAS DEPARTMENT OF CRIMINAL JUSTICE
                                      Inter-Office Communication
                              Administrative Review and Risk Management
                                           Offender Grievance


  TO: Digges,Frank

  TDCJ #: 473881

  UNIT: ST

  FROM: Central Grievance Office SUBJECT: Improperly Submitted Grievance
  Your documents received in this office have been reviewed and a response is indicated below. Contact
  the warden, major, chief of classification or a securit officer for issues you deem as an emergency;
  however, are not considered an emergency through the Offender Grievance procedure. If you need
  additional information or assistance, you may contact the Unit Grievance Investigator at your unit.


             Please utilize the Offender Grievance Procedure to address your concerns.
             A copy of the Instructions on How to Write and Submit Grievances is enclosed for your
             information.
             Policy requires that all grievances be submitted through your Unit Grievance Investigator within
             15 days of the applicable date.
             These issues have been reviewed at both steps of the grievance procedure. No other
             administrative remedies are available to you regarding the issue. Further action by this office is
             not warranted.
             If you wish to obtain a copy of a Step 1 grievance, contact your Unit Grievance Investigator via I-
             60 Request to Authority. The records retention for grievances is three years.
             Your Step 1 grievance(s) was properly screened.
             Contact the Law Library concerning your requested information or open records request.
             Records indicate that grievance # 201 is currently under review at Step 1.
             The use of vulgar language towards staff in your grievance will not be tolerated and may result
             in disciplinary action being taken by unit administration.
     [Xl This Step 2 appeal is being returned to you without action; however, the unprocessed Step 1
             grievance is under review.
             This Step 2 appeal cannot be processed without the corresponding original, answered Step 1
             grievance.
             You may not submit a Step 2 appeal on a Step 1 grievance that was screened using one of the
             screening criteria, and returned to you unprocessed.

             You had the option of correcting screened grievance # 201 and resubmitting to the unit
             grievance investigator within 15 days from the date of the returned grievance.
             It is not permissible to mail your grievances directly to the Central Grievance Office. Submitting
             your grievances incorrectly may result in your grievable time to expire.
             This issue is currently being addressed in grievance # 201 . If you are not satisfied with the
             Step 1 response, you may appeal the Step 1 decision by filing a Step 2 (1-128).
             Records indicate that Grievance # 201 was returned to you on.




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                                        TEXAS DEPARTMENT OF CRIMINAL JUSTICE
TO: Digges,Frank TDCJ #: 473881 UNIT: ST
FROM: Central Grievance Office SUBJECT: Offender Correspondence
You should always attempt to resolve our proble informally at your unit with staff, department and security supervisors, or the warden. Verbally
communicate the problem, or submit an I-60 Offender Request to Official. Sending your concerns to the wrong department or agency is inappropriate
and only delays valuable response time. Your prison-related issues can be addressed in a timely manner by directing them to the appropriate
responsible TDCJ department listed below.

   ryf Offender Protection Issues (OPh: Immediately contact a                       I I Education: Issues related to education should be directed to the
   correctional officer; security supervisor; warden; assistant warden; or the      Windham School Principal at your unit. Continuing Education issues
   Classification Department at your unit.                                          should be directed to Windham School at P.O. Box 40, Hunts ille, TX,
                                                                                    77342. You will not be considered for educational transfer without
   [x] Offender Grievance Procedure: Issues regarding unit operations,              Windham recommendation.
   disciplinar disputes, property issues, mail or an other matter relating to
   conditions of care or supervision may be formally addressed through the          I I Trust Fund & Commissary: Issues related to your commissary
   Offender Grie ance Procedure if informal contact (verbally or 1-60) with         account should be directed to Inmate Trust Fund at P.O. Box 629,
   unit staff does not address your concerns. Submit your Step 1 grievance          Huntsville, TX, 77342. Issues related to commissary purchases, items
   to the Grievance Depart ent at your unit. Allow ample time for the               stocked, or special requests should be directed to the commissary
   Grievance Department to in estigate your complaint and return a reply to         supervisor at your unit.
   you. If you appeal a decision to the next level, you must submit a Step 2
   grievance along with the original answered Step 1 grievance to the               [ , Food Service: Issues related to meals, sack lunches, or special diet
   Grievance Department at your unit. Step 2 grievances are reviewed by             menus should be sent to the food service manager for resolution at your
   the regional authority or the Central Grievance Office if you are                unit. If the issue is not resolved at the unit level, then contact the Director
   dissatisfied with the response on the Step 1. Directing grievances to            of Food Service at P.O. Box 99, Huntsville, TX, 77342-0099
   unrelated offices may result in expiration of your grievable time
   period.                                                                          I I Legal Assistance: Issues such as conviction appeal, detainers,
                                                                                    divorce, or child support should be directed to an offender's attorney or
   If you have already pursued the issue through the Offender Grievance             State Counsel for Offenders, Legal Services Section at P.O. Box 4005,
   Procedure at Step 1 and Step 2; no other administrati e remedies are             Huntsville, TX, 77342-4005.
   available to you regarding the issue. You may pursue the matter in any
   manner you choose outside of the agency.                                         I I Law Library: All offender legal issues related to unit operations such
                                                                                    as, access to courts; legal visits with other offenders; world attorney visits;
   I I edical Care: The unit physician is the primary care provider at the          indigent, legal or correspondence supplies; postage; policy; and state law
   unit le el and is responsible for the determination of medical treatments,       information requests should be directed to the law library supervisor at
   medications, medical restrictions, and scheduling of services. You should        your unit.
   attempt to resolve your problem at the unit level first by contacting the unit
   medical administrator in writing (sick call request or I-60 request form) for    I I Security Threat Group (STG): If you feel you have been incorrectly
   assistance. Subsequently, if you are not in agreement with the provider s        identified as a member of a security threat group, or wish to begin the
   response you may utilize the grievance process. You will not be                  disassociation process, you should contact the Security Threat Group
   transferred for medical reasons. without the approval and                        Officer (STGO) at your unit. The STGO will know the proper procedure
   recommendation of unit health care pro iders.                                    to follow in having your STG status reviewed. You may also write to the
                                                                                    Security Threat Group Management Office (STG O) at P.O. Box 99;
   ol Office of Inspector General (OIGI Investi ation: Complaints or                Huntsville, TX, 77342-0099. However, the STG Management Office
   allegations relating to excessi e or unreported use offeree, physical harm       relies ore on requests and infor ation sub itted to them by the Unit
   by staff, or any crime committed by an offender or employee on state             STGO than directly from offenders.
   property should be directed to the Office of Inspector General,
   Investigation Division at P.O. Box 4003, Huntsville, TX, 77342. Full                  Lockdowns & Shakedowns: Unfortunately, offenders who had
   details must be provided in order to initiate an investigation in this manner.   nothing to do with a disturbance are often included in a lockdown, and all
                                                                                    offenders at a unit are affected by a semi-annual shakedown. The
   I I Classification: Issues related to time disputes; time calculations;          procedures for implementing a lockdown or shakedown are well
   sentencing; concurrent time and stacked time; jail time; forfeited good          established and have proven effective in restoring order and ensuring the
   conduct time; back dated good conduct time; class; promotions; cell              security of the unit, as well as the safety of offenders and staff. That does
   assignment; or information on various programs should be directed to the         not mean the process is pleasant for offenders or staff
   Classification Chief at your unit or the Classification & Records
   Department at P.O. Box 99, Huntsville, TX, 77342-0099.                           I I Laundrv/Necessities/Unit Supply: These items are available on a or
                                                                                    for one exchange. You must turn in an item to receive a like item. Resolutic
   I I Transfer: Offenders are not at liberty to choose their unit of               must first be attempted on the unit for Issues involving laundry/necessities ar
   assignment. Notify the Classification Department at your unit if you ha e        unit supply.
   a reason that warrants a transfer. A request for a hardship transfer may
   be made if an immediate family member, listed on your approved                   I I Rehabilitation Programs: Questions regarding rehabilitation are to
   visitation list, is unable to travel long distances. To be considered, you       be directed to: Rehabilitation Program Division at 4616 W. Howard Ln.
      ust be at least L1/G3, ith no major disciplinary cases for 1 year and         Suite 200; Austin, TX 78728.
   more than 200 miles from home. The family member may submit their
   request along with a letter from their doctor to verify the medical disability
                                                                                    I I Religion: Any issue related to religious programs; services;
   to Joni White, TDCJ-Classifications & Records Department at P.O. Box
                                                                                    holidays; or activities should be directed through the Chaplain at your unit
   99; Huntsville, TX, 77342-0099. A transfer is not guaranteed, but the
                                                                                    or the TDCJ Chaplaincy Department at P.O. Box 99, Huntsville, TX,
   request will be reviewed for consideration.
                                                                                    77342-0099.
   I I Parole: Parole review status issues should be directed to the Board
   of Pardons and Paroles at P.O. Box 13401, Capitol Station, and Austin,
   TX 78711.




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